               Case 22-14547-RAM         Doc 31     Filed 08/19/22    Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 IN RE:                                                              CASE NO.: 22-14547-RAM
                                                                                CHAPTER 13
 Guillermo Fernando Guell Klever,
 aka Guillermo Guellklever
 aka Guillermo Guell
 aka Guillermo Guell Klever and
 Liset Marro
           Debtors.
 ________________________________/

  RESPONSE TO OBJECTION TO CLAIM OF PHH MORTGAGE CORPORATION /
                        U.S. BANK, N.A. [# 7-1]

       COMES NOW, U.S. Bank National Association, as Trustee for GSAA Home Equity

Trust 2007-1, Asset-Backed Certificates, Series 2007-1 (“Secured Creditor”), by and through its

undersigned attorney, hereby files its Response to Objection to Claim of PHH Mortgage

Corporation / U.S. Bank, N.A. [# 7-1] (“Objection”) (DE # 28), and in support thereof states as

follows:

             1. Debtors, Guillermo Fernando Guell Klever and Liset Marro (“Debtors”), filed a

                voluntary petition pursuant to Chapter 13 of the Bankruptcy Code on June 10,

                2022.

             2. Secured Creditor holds an interest in Debtor’s real property located at 3100NW11

                St. Miami, Florida 33125.

             3. Secured Creditor filed its Proof of Claim, on July 7, 2022 as Claim Number 7-1.
             Case 22-14547-RAM           Doc 31     Filed 08/19/22    Page 2 of 3




           4. Pursuant to Federal Rule of Bankruptcy Procedure 3001(f), a proof of claim

               executed and filed in accordance with the Bankruptcy Rules “shall constitute

               prima facie evidence of the validity and amount of the claim.”

           5. On August 16, 2022, Debtor filed an Objection asserting allegations opposing

               Secured Creditor’s claim.

           6. Secured Creditor is amenable to having the claim allowed with no distribution

               from the Chapter 13 Trustee.

           7. Secured Creditor’s Proof of Claim, is neither incorrect nor improper as filed.

       WHEREFORE, Secured Creditor respectfully requests this Honorable Court allows

Secured Creditor’s Proof of Claim as filed as to preserve Creditor’s Claim, and for such other

and further relief as the Court deems just and proper.

                                              Robertson, Anschutz, Schneid, Crane & Partners,
                                              PLLC
                                              Attorney for Secured Creditor
                                              6409 Congress Ave., Suite 100
                                              Boca Raton, FL 33487
                                              Telephone: 561-241-6901
                                              Facsimile: 561-241-1969

                                              By: /s/ Keith Labell
                                              Keith Labell, Esq.
                                              Email: klabell@raslg.com
                                              Florida Bar No. 0109158
             Case 22-14547-RAM         Doc 31     Filed 08/19/22        Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August          19 ,   2022, I caused to be electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system, and a true and correct copy has

been served via CM/ECF or United States Mail to the following parties:

Guillermo Fernando Guell Klever
Liset Marro
3110 NW 11th ST
Miami, FL 33125

And via electronic mail to:

Jose A Blanco
102 E 49th ST
Hialeah, FL 33013

Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                           Robertson, Anschutz, Schneid, Crane & Partners,
                                           PLLC
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969

                                           By: /s/ Keith Labell
                                           Keith Labell, Esq.
                                           Email: klabell@raslg.com
                                           Florida Bar No. 0109158
